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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  NETLIST, INC.,                          )
                                          )
              Plaintiff,                  )
                                          )     Case No. 2:22-cv-293-JRG
        vs.                               )
                                          )     JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS CO, LTD;            )     (Lead Case)
  SAMSUNG ELECTRONICS AMERICA,            )
  INC.; SAMSUNG SEMICONDUCTOR             )
  INC.,                                   )
                                          )
              Defendants.                 )

  NETLIST, INC.,                          )
                                          )
              Plaintiff,                  )
                                          )
                                                Case No. 2:22-cv-294-JRG
        vs.                               )
                                          )
                                                JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.;                )
  MICRON SEMICONDUCTOR                    )
  PRODUCTS, INC.; MICRON                  )
  TECHNOLOGY TEXAS LLC,                   )
                                          )
              Defendants.                 )

                     PLAINTIFF NETLIST, INC.’S OPPOSITION TO
                        SAMSUNG’S MOTION TO STAY (Dkt. 88)
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 I.      INTRODUCTION

         The PTAB has instituted an IPR on only one claim of the 116 claims asserted in this Action,1

 and two of the three IPR petitions underlying Samsung’s Motion to Stay have yet to reach an

 institution decision. The fact that no institution decision has been reached for two of the patents in

 this case (and one additional patent pending motion for leave to amend) alone warrants denial of

 Samsung’s motion: “[t]he ‘universal practice’ in this District, as well as the practice of most district

 courts, is to deny a motion for stay when the Board has not yet acted on a petition for IPR.” Scorpcast,

 LLC v. Boutique Media Pty Ltd., 2020 WL 7631162, at *3 (E.D. Tex. Dec. 22, 2020). Samsung does not

 identify a single case where a court in this District stayed litigation prior to institution decisions for

 the patents-in-suit, nor does Samsung explain why this case should be handled differently.

         Moreover, as explained below, Samsung’s IPRs, even if instituted, will not “result in

 simplification of the issues,” which is “the most important factor when evaluating a motion to stay.”

 Id. Samsung’s primary argument in support of its motion is that “the parties will save significant costs,

 time, and resources . . . [e]ven if only some claims or patents are invalidated.” Dkt. 88, at 5. However,

 “only when the PTAB decides whether, and to what extent, to institute review will there be meaningful

 potential for simplification.” Perdiemco LLC v. Telular Corp., 2017 WL 2444736, *2-*3 (E.D. Tex.

 June 6, 2017). Regardless, any simplification is nullified by the invalidity combinations Samsung

 intends to present in this case; Samsung’s invalidity contentions reflect an intent to rehash its printed

 publication invalidity theories as prior art used in combination with system art. In addition, Samsung’s

 IPRs will have no impact on Samsung’s other affirmative defenses in the case, such as non-


         1
          Netlist asserts 64 claims of the U.S. Pat No. 7,619,912 (the “’912 patent”), 15 claims of U.S.
 Pat No. 11,093,417 (the “’417 patent”), 29 claims of U.S. Pat No. 9,858,215 (the “’215 patent”). On
 January 20, Netlist moved to amend its complaint to assert an additional patent, U.S. Patent
 No. 10,268,608 (the “’608 patent”). Dkt. 62. On February 7, Netlist served its infringement
 contentions to assert 8 claims of the ’608 patent. Netlist’s motion to amend has been fully briefed
 and is pending before this Court. Id.

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 infringement, invalidity under Section 112, prosecution laches, estoppel and so on.

         The only certainty from a stay of this case is the prejudice Netlist would suffer from an

 indefinite delay in enforcing its patent rights. The Court should deny the motion so as “to secure the

 just, speedy, and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

 II.     FACTUAL BACKGROUND

         Netlist filed the instant action against Samsung for infringement of the ’912, ’417, and ’215

 patents on August 1, 2022. Dkt. 1. A parallel proceeding involving the same patents was filed against

 Micron on the same day. The Court consolidated the two cases on October 21, 2022. Dkt. 39. On

 January 20, 2023, Netlist moved to amend its complaint to assert the ’608 patent. Dkt. 62. A jury trial

 is scheduled in this case for April 15, 2024.

         Netlist has diligently prosecuted this Action over the past 11 months. On November 17, 2022,

 Netlist served 956 pages of infringement contentions on Samsung and Micron defendants asserting:

 64 claims of the ’912 patent against Samsung’s and Micron’s DDR3 and DDR4 memory products; 15

 claims of the ’417 patent and 29 claims of the ’215 patent against DDR4 products. Ex. 1 (Cover of

 Netlist’s Infringement Contentions). Likewise, Samsung’s served over 10,500 pages of invalidity

 contentions on April 13, 2023. With the substantial completion of document production approaching,

 Netlist has already produced 12,000 documents comprising over 300,000 pages, the substantial bulk

 of documents Netlist will likely produce in this case. Samsung has produced 39,795 documents

 spanning over 368,000 pages. Netlist has also pushed forward with third party discovery, serving

 document and deposition subpoenas on 10 of Samsung’s suppliers and customers to obtain

 information about the design and operation of various components of Samsung’s accused products.

         Samsung filed an IPR petition as to the ’912 patent on February 17, 2022. See IPR2022-615

 (’912 patent), paper 1. This proceeding has been stayed since January 5, 2023 pending the Director’s

 sua sponte review of the institution decision. IPR2022-615, paper 38 at 2. Samsung filed IPR petitions


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 for the ’417 and ’215 patents on January 10, 2023. IPR2023-00454 (’417 patent), paper 1; IPR2023-

 00455 (’215 patent), paper 1. The institution decisions are due August 9, 2023, and the FWDs (if

 instituted) would not be due until August 9, 2023. 35 U.S.C. § 314(b); 35 U.S.C. § 316(a)(11).

         On April 27, 2023, Samsung filed an IPR petition as to the ’608 patent, and the institution

 decision is not due until December 14, 2023. IPR2023-00847 (’608 patent). If instituted, the FWD

 would not issue until December 14, 2024. The ’608 has already survived one IPR Petition. Defendant

 Micron brought an IPR petition against the ’608 patent on December 23, 2021. The Board denied

 institution of the IPR on July 19, 2022, as Micron failed to “demonstrate a reasonable likelihood of

 prevailing on any of the challenged claims of the ’608.” IPR2022-00237 (’608 patent), paper 15 at 21.

 III.    LEGAL STANDARD

         “District courts typically consider three factors when determining whether to grant a stay

 pending inter partes review of patents-in-suit: (1) whether the stay will unduly prejudice the

 nonmoving party, (2) whether the proceedings before the court have reached an advanced stage,

 including whether discovery is complete and a trial date has been set, and (3) whether the stay will

 likely result in simplifying the case before the court.” Fall Line Patents, LLC v. Am. Airlines Grp., 2018

 WL 4169251, at *1 (E.D. Tex. May 21, 2018). “The party seeking a stay bears the burden of showing

 that such a course is appropriate.” JumpSport, Inc. v. Acad., Ltd., 2018 WL 1806900, at *1 (E.D. Tex.

 Apr. 17, 2018).

 IV.     ARGUMENT

         “[T]his Court has a consistent practice of denying motions to stay when the PTAB has yet to

 institute post-grant proceedings.” Nanoco Techs. Ltd. v. Samsung Elecs. Co., 2021 WL 3027335 (E.D.

 Tex. Jan. 8, 2021). No institution decision has been rendered as to the ’215, ’417, or ’608 patents. It

 is this Court’s common practice to wait to decide whether a proceeding should be stayed until after

 the USPTO has entered institution decisions as to all patents in suit. See, e.g., Acorn Semi, LLC v.


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 Samsung Elecs. Co., 2020 WL 10284981, at *2 (E.D. Tex. Sept. 14, 2020) (denying motion to stay);

 Barkan Wireless IP Holdings, L.P. v. Samsung Elecs. Co., 2019 WL 8647996, at *2 (E.D. Tex. Mar. 15,

 2019) (same). Samsung’s motion does not raise any cases or arguments explaining why this Court

 should deviate from its universal practice in this Action. In addition, each factor courts in this District

 consider when deciding a motion to stay weighs against a stay.

         A.        Netlist Will Be Unduly Prejudiced by a Stay of This Instant Action

         Netlist has a “right to timely enforcement of its patent rights.” Saint Lawrence Commc’ns LLC v.

 ZTE Corp., 2017 WL 3396399, at *2 (E.D. Tex. Jan. 17, 2017); Trover Grp., Inc. v. Dedicated Micros USA,

 2015 WL 1069179, at *2 (E.D. Tex. Mar. 11, 2015) (noting “the general right of patent owners to

 timely enforcement of their patent rights.”); Realtime Data LLC v. Actian Corporation, 2016 WL 3277259,

 at *2 (E.D. Tex. June 14, 2016) (same).

         Samsung seeks to stay this case until “a final decision in the IPRs currently pending at the

 PTAB with respect to each of the asserted patents.” Dkt. 88, at 7 (emphasis added). Assuming

 institution of the pending petitions, the PTAB would not provide its FWDs as to all the ’912, ’417,

 and ’215 patents until August 2024 (or December 2024 if Netlist’s motion for leave to add the ’608

 patent is granted)—several months after the trial scheduled to start on April 15, 2024. Disrupting the

 Court’s trial schedule with a stay would “impair that right, potentially requiring a new trial date amidst

 the Court’s already busy calendar.” Intell. Ventures II LLC v. FedEx Corp., 2017 WL 6559172, at *4

 (E.D. Tex. Dec. 22, 2017).

         Further, Samsung vaguely seeks a stay until “a final decision in the IPRs,” which may also

 implicate any Federal Circuit appeals from the IPR proceedings. In 2022, the median time to

 disposition for Federal Circuit appeals from the USPTO was 15 months.2 If this case is further stayed




         2
             Available at https://cafc.uscourts.gov/home/the-court/reports-statistics/.

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 pending such appeals, this case would not likely resume until November 2025—over a year and a half

 after the currently scheduled trial date. Staying this Action for an unknown duration would undermine

 the “public interest in the ‘speedy resolution of disputes.’” Team Worldwide Corp. v. Wal-Mart Stores,

 Inc., 2018 WL 2722051, at *4 (E.D. Tex. June 6, 2018) (citation omitted); Invensys Sys., Inc. v. Emerson

 Elec. Co., 2014 WL 4477393, at *3 (E.D. Tex. July 25, 2014) (“Firm trial settings resolve cases and

 reduce litigation costs.”).

         Samsung’s suggestion that Netlist only seeks monetary damages and thus would not be

 prejudiced is incorrect. Dkt. 88 at 5. First, Netlist’s complaint seeks not only monetary damages, but

 also all equitable relief the Court deems proper, including injunctive relief. Dkt. 12, at 47. Because

 Netlist’s ’215 and ’417 patents-in-suit expire in 2025, Samsung’s requested stay would dramatically

 limit any injunctive relief Netlist can seek. Ex. 2 (estimation of expiration dates of ’215 and ’417 patents

 based on USPTO calculator). Second, due to rollout of next generation DDR5 DIMMs, the accused

 DDR3 R/LRDIMM and DDR4 R/LRDIMM products are near the end of their life and may be

 obsolete by the time Samsung’s requested stay is lifted in August 2024.3 Thus, granting a stay would

 permit Samsung to continue infringement by exploiting the remaining life of the accused products

 before the industry moves to next generation DDR5 DIMMs. Third, in light of its product supply

 agreement with SK Hynix, Netlist offers for sale memory products that directly compete with

 Samsung’s accused products in this Action. 4 Samsung’s ability to compete unlawfully by selling

 infringing products decreases demand for Netlist’s products. See Celsis in Vitro, Inc. v. CellzDirect, Inc.,



         3
           See, e.g., https://www.digitaltrends.com/computing/the-end-of-ddr4-ram/;
 https://www.digitimes.com/news/a20220330PD213.html (“Samsung Electronics has notified
 customers that the company will take DDR3 chip orders until the end of 2022 and fulfill the orders
 for deliveries until the end of 2023, according to industry sources.”).
         4
            https://netlist.com/products/memory-module/ddr4-dimms/ (Netlist website listing
 DDR4 RDIMM products); https://netlist.com/products/memory-module/ddr3-dimms/ (Netlist
 website listing DDR3 RDIMM products).

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664 F.3d 922, 930 (Fed. Cir. 2012) (“Price erosion, loss of goodwill, damage to reputation, and loss of

business opportunities are all valid grounds for finding irreparable harm.”). Fourth, even if Samsung

were correct that Netlist sought only monetary damages, that would not support a stay at this stage of

the case. See, e.g., Chrimar Sys., Inc. v. Adtran, Inc., 2016 WL 11746525, at *1 (E.D. Tex. Dec. 28, 2016)

(“Defendants’ argument suggests that only those parties who seek injunctions could ever experience

undue prejudice from the delay of the final resolution of their case. This cannot be the case.”).

        Samsung’s conclusory assertion that “a stay will benefit Samsung, Netlist, and Micron by

allowing them to benefit from the IPR system that Congress intended to aid courts . . . ,” Dkt. 88 at

6, is not a sufficient basis to support its motion to stay. See JumpSport, 2018 WL 1806900, at *1

(“[T]here is no per se rule that patent cases should be stayed pending [IPR] proceedings, because such

a rule would invite parties to unilaterally derail litigation.”) (internal citations omitted). If Samsung

were right, every case should be stayed once an IPR were filed. This factor weighs against a stay.

        B.      A Stay Would Not Simplify Issues in This Case

        Samsung’s IPRs will not simplify issues in this case for several reasons. Samsung admits that

“the most significant factor bearing on whether to grant a stay… is the prospect that the inter partes

review proceeding will result in simplification of the issues before the Court,” Dkt. 88 at 4, but ignores

the fact that at this stage any potential simplification is speculative at best, because no institution

decision has been rendered for the ’417, ’215, or ’608 patents. “[I]f the PTAB denies the institution

of inter partes review, there will be no simplification of the issues before this Court.” AR Design

Innovations LLC v. Ashley Furniture Indus., Inc., 2021 WL 6496714, at *3 (E.D. Tex. Jan. 11, 2021).

Samsung’s own cited authority is in accord. See NFC Tech. LLC v. HTC Am., Inc., 2015 WL 1069111,

at *4 (E.D. Tex. Mar. 11, 2015) (finding “likelihood [of simplification] is far more speculative before

the PTAB decides whether to institute [an IPR]”) (emphasis added).

        Moreover, Samsung’s invalidity contentions in this Action raised a much broader scope of


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invalidity challenges than the IPR petitions, and any issue simplification is negated by Samsung’s

alleged system art combinations. As an example, Samsung’s IPR petition against the ’417 patent raised

3 grounds based on 4 prior art references (Perego, JESD79-2, Ellsberry, and Halbert). IPR2023-454,

paper 1. Samsung’s invalidity contentions identified at least 73 “Prior Art Patents and Printed

Publications” as bases to challenge the validity of the ’417 patent. Ex. 3 (2023-04-13 Invalidity

Contentions) at 17-21. Samsung intends to take the view that it can present each of these references

to the jury in this case regardless of the outcome of the IPR, because it has combined every asserted

reference with at least one piece of system art. See, e.g., Id., at 151-152 (combining U.S. Patent No.

7,103,742 (“Mailloux”) with, inter alia, Kentron’s Quad Band Memory System (“QBM”)); at 152-154

(combining U.S. Patent Application Publication No. 2006/0117152 (“Amidi”) with, inter alia,

Kentron’s Quad Band Memory System (“QBM”)); at 154-178 (combining all other references with

alleged system art). Samsung’s claim charts also take the very expansive view that Samsung has

reserved the right to combine any charted reference with any other “references in Appendix C as

charted for this claim limitation.” See, e.g., Ex. 4 (Mailloux invalidity chart) at 8. Samsung’s invalidity

contentions as to the other patents have similarly combined every asserted reference with at least one

piece of alleged system art. Ex. 3, at 63-77, 100-131. The following table summarizes the number of

references that will still be at issue:

        Pat.                           IPR                           Invalidity Contentions
        ’912                       3 references                           25 references
        ’215                       4 references                            76 references
        ’417                       5 references                            76 references

Thus, the possibility that the IPR proceedings will simplify issues presented before this Court is

minimal, as Samsung will attempt to resurrect its prior art patent and printed publication invalidity

arguments under the guise of its system art combinations. See Unifi Sci. Batteries, LLC v. Sony Mobile

Commc’ns AB, 2014 WL 4494479, at *2 (E.D. Tex. Jan. 14, 2014) (“[T]he PTO merely granted the IPR


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request with respect to two references in TI’s petition and four references in Samsung’s petition” but

the “Defendants’ joint invalidity contentions contained over 40 references”).

           Samsung has also raised additional invalidity arguments based on lack of written

description/enablement, indefiniteness with respect to each of the patents-in-suit, prosecution laches,

estoppel, license and covenant not to sue, exhaustion, and inequitable conduct. Ex. 3 (2023-04-13

Invalidity Contentions) at 189-220; see also Dkt. 61 (Samsung’s First Amended Answer). None of these

defenses will be resolved by the IPRs. Courts in this District have held that where a defendant’s

invalidity theories exceed the scope of a pending IPR (as Samsung has done here), such IPRs will have

a “negligible impact on potentially streamlining the case.” Saint Lawrence Commc’ns LLC v. ZTE Corp.,

2017 WL 3396399, at *2 (E.D. Tex. Jan. 17, 2017) (denying stay where only one of five asserted patents

were instituted—amounting to six of 38 asserted claims—and the defendant’s invalidity contentions

exceeded the limited scope of the IPR).

           And with respect to the ’912 patent, Netlist has asserted 64 claims against Samsung in this

Action, but Samsung has only sought IPR as to claim 16. IPR2022-00615, paper 1. As such, even if

the PTAB invalidates claim 16 of the ’912 patent, that does not resolve the vast majority of Netlist’s

infringement claims against Samsung’s DDR3 RDIMMs and LRDIMMs pending before this Court.

Ex. 1, at 3-5.5 See, Parthenon Unified Memory Artchitecture LLC v. HTC Corp. & HTC Am., Inc., 2016 WL

3365855, at *4 (E.D. Tex. June 17, 2016) (“IPRs are not pending as to five asserted claims . . . These

circumstances cut against a stay because no IPRs are pending against half of the asserted claims in this

case.”).

           Samsung’s argument that “[e]ven if only some claims or patents are invalidated, the IPR



           5
          Samsung does not contend—because it cannot—the pending summary judgment motion
based on intervening rights defense as to the remaining 63 claims of the ’912 patent is a sufficient
basis to stay this case.

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proceedings will inform this Court on issues of construction of claim terms,” Dkt. 88, at 5, is not well

taken. Samsung fails to give a single example of any term that could be implicated. At any rate, this

Court will reach a claim construction decision and hold a jury trial before any of the IPR FWDs are

due.

        Given that Samsung’s IPRs will not simplify any issues, this factor alone is sufficient to dispose

of Samsung’s motion. See Staton Techiya, LLC v. Samsung Elecs. Co., Ltd., 2022 WL 4084421, *2 (E.D.

Tex. Sept. 6, 2022) (“When the motion was initially filed, the suit was in its infancy and the PTAB had

yet to institute IPR on any of the patents in either suit. If considered from that point in time, the stage

of the proceedings factor would favor stay, but without knowing whether or which of the patents in

either suit may be subject to IPR institution the issue simplification factor weighs against a stay.

Considering the weight afforded the latter factor, a stay is not appropriate. If we consider these

factors after Samsung notified the Court that IPR has been instituted against three of the fourteen

patents in suit, the result is no different.”) (emphasis added).6

        C.      The Stage of This Litigation Weighs Against Granting a Stay

        The stage of this litigation also weighs against a stay. This case has been pending since

August 1, 2022. Claim construction is well underway as the parties have begun work on the P.R. 4-3

joint claim construction statement, and the Markman hearing is scheduled for October 2023. Trial is

scheduled for April 15, 2024, roughly nine months away. Dkt. 66. See BarTex Research, LLC v. FedEx

Corp., 2009 WL 1164567, *4 (E.D. Tex. 2009) (noting that the case was not in its infancy as the claim




        6
          The cases Samsung relies on in its motion are inapposite, as IPRs (or reexaminations) had
been instituted in each of those cases. See Norman IP Holdings, LLC v. TP-Link Techs., Co., 2014 WL
5035718, at *2 (E.D. Tex. Oct. 8, 2014) (“On September 23, 2014 PTAB granted Nissan’s petition for
IPR as to the asserted claims in the ’689 and ’597 patents”); CyWee Grp. Ltd. v. Samsung Elecs. Co., 2019
WL 11023976, at *1, *8 (E.D. Tex. Feb. 14, 2019) (petitions already instituted and petition for hearing
denied); VirtualAgility Inc. v. Salesforce.com, Inc., 759 F.3d 1307, 1309 (Fed. Cir. 2014) (motion to stay
filed after the IPR instituted as to the patents-in-suit).

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construction was set to occur in two months and trial in nine months). Even if the IPRs are instituted,

the USPTO will not issue FWDs for all patents-in-suit until August 2024 (or December 2024 if

Netlist’s motion to amend to assert the ’608 patent is granted), at least four months after the scheduled

jury trial.

         As discussed above, Netlist has already produced over 300,000 pages of documents, has

expended substantial effort in developing its infringement theories for this case, and has served

subpoenas on and engaged in meet and confers with 10 third parties. Given the amount of work that

has already been undertaken in developing this case, this factor too weighs against a stay.

V.       CONCLUSION

         For the reasons stated above, Samsung’s Motion to Stay, Dkt. 88, should be denied.


Dated: June 30, 2023                              Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on June 30, 2023, a copy of the foregoing was served to all counsel of

record.

                                                          /s/ Yanan Zhao
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